






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00103-CV






Kameron Williams, Appellant


v.



Texas Department of Family and Protective Services, Appellee





FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT


NO. 214,846-B, HONORABLE RICK MORRIS, JUDGE PRESIDING







M E M O R A N D U M   O P I N I O N



	Appellant Kameron Williams failed to file a brief and to respond to this Court's
notice that her brief was overdue.  We abated this appeal and instructed the trial court to conduct a
hearing to determine whether appellant desired to pursue her appeal.  See Tex. R. App. P. 38.8(a)(2);
see also Tex. R. App. P. 38.8(b)(2)-(3).  At the hearing on August 20, 2007, appellant's counsel
stated that appellant did not want to pursue her appeal, and the trial court found that appellant has
abandoned her appeal.  Accordingly, this appeal is dismissed.


					__________________________________________

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Dismissed

Filed:   August 31, 2007


